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                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

 LISA BARBOUNIS                               :
                                              :
                         Plaintiff,           :
 -vs-                                         :       CIVIL ACTION NO. 2:19-cv-05030-JDW
                                              :
 THE MIDDLE EAST FORUM,                       :
 DANIEL PIPES (individually),                 :
 GREGG ROMAN (individually), and              :
 MATTHEW BENNETT (individually)               :
                                              :
                         Defendants.          :

  DEFENDANT’S MOTION FOR CONTEMPT FOR FAILURE TO COMPLY WITH
 COURT ORDER COMPELLING DISCOVERY RESPONSES AND PRODUCTION OF
                          DOCUMENTS

        Defendant The Middle East Forum (“The Forum”), by its attorneys, Cozen O’Connor,

hereby moves this Honorable Court for entry of the proposed Order of contempt against plaintiff

Ms. Lisa Barbounis (“Plaintiff” or “Ms. Barbounis”) and her counsel, Seth Carson, Esq. (“Mr.

Carson”), pursuant to Fed. R. Civ. P. 37(b)(2)(A) failing to comply with Your Honor’s Order dated

October 14, 2020 (ECF No. 61) compelling Plaintiff to comply with her discovery obligations on

or before October 21, 2020, which she has entirely failed to do, and in support thereof offer the

accompanying Memorandum of Law.

        Based on its Motion and Memorandum, The Forum respectfully requests this Court enter

an Order:

        (a) Finding Ms. Barbounis in civil contempt for failing to comply with a discovery order

            of this Court;

        (b) Finding Ms. Barbounis’ counsel in civil contempt for failing to comply with a

            discovery order of this Court;




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        (c) Dismissing Ms. Barbounis’ claims with prejudice for her failure to engage in the

            discovery process thereby prohibiting The Forum from receiving discovery it is entitled

            to and which is necessary for The Forum to defend itself against Ms. Barbounis’ claims;

        (d) Granting The Forum a unilateral extension to conduct and finish fact discovery to

            provide The Forum with additional time to review Ms. Barbounis’ document

            productions and responses to requests and then conclude taking depositions if the relief;

        (e) Ordering Ms. Barbounis and her counsel to pay The Forum’s attorneys’ fees and costs

            incurred as a result of The Forum filing its Motion to Compel (ECF No. 59) and the

            instant Contempt Motion;

        (f) Setting the matter for a determination of attorneys’ fees and costs for a date certain

        (g) Granting any and all such other relief as this Court deems proper.

                                              /s/ David J. Walton
                                              David J. Walton, Esquire
                                              Jonathan Cavalier, Esquire
                                              Leigh Ann Benson, Esquire
                                              COZEN O’CONNOR
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                                              P: (215) 665-5547
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                                                      jcavalier@cozen.com
                                                      lbenson@cozen.com
                                              Attorneys for Defendant
                                              The Middle East Forum

Dated: October 22, 2020




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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

 LISA BARBOUNIS                                :
                                               :
                        Plaintiff,             :
 -vs-                                          :       CIVIL ACTION NO. 2:19-cv-05030-JDW
                                               :
 THE MIDDLE EAST FORUM,                        :
 DANIEL PIPES (individually),                  :
 GREGG ROMAN (individually), and               :
 MATTHEW BENNETT (individually)                :
                                               :
                        Defendants.            :

    DEFENDANT THE MIDDLE EAST FORUM’S MEMORANDUM OF LAW IN
 SUPPORT OF ITS MOTION FOR CONTEMPT FOR FAILURE TO COMPLY WITH
  DISCOVERY OBLIGATIONS AND COURT ORDER COMPELLING DISCOVERY
             RESPONSES AND PRODUCTION OF DOCUMENTS

        Defendant The Middle East Forum (“The Forum” or “Defendant”), through its counsel,

hereby respectfully moves this Court for the entry of the proposed Order finding plaintiff Ms. Lisa

Barbounis (“Ms. Barbounis” or “Plaintiff”) and her counsel, Seth Carson, Esq. (“Mr. Carson”), in

contempt due to their failure to comply with Your Honor’s order (ECF No. 61) compelling Ms.

Barbounis to comply with her discovery obligations, and in support thereof avers as follows:

                                           Introduction

        The Forum now moves pursuant to Rule 37(b)(2)(A) for the entry of an order finding Ms.

Barbounis and her counsel in contempt for failing to comply, in full, with a discovery order entered

by Your Honor on October 14, 2020. (ECF No. 61). For months, Ms. Barbounis and her counsel

have stalled on discovery obligations. Throughout, The Forum has been strung along with false

promises of productions.      And worse yet, time after time this Court’s orders compelling

compliance have been outright ignored. The Forum has been severely prejudiced in its ability to

defend itself from Ms. Barbounis’ claims and allegations, many of which are outlandish. It cannot

defend itself fully in this Action, nor adequately prosecute its Counterclaims, absent Ms.

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Barbounis’ meaningful participation in the discovery process, which to date, despite multiple

orders by this Court, simply has not happened. The Forum is now left with no alternative but to

seek relief from this Court.

                                     Factual Background

        Plaintiff Ms. Lisa Barbounis is a former employee of The Forum. She filed this action

against The Forum, its President, Mr. Daniel Pipes, Director, Mr. Gregg Roman, and a former

employee, Mr. Matthew Bennett, alleging sexual harassment, discrimination and retaliation. Ms.

Barbounis is one of five former employees who filed claims in this Court in 2019. Ms. Barbounis’

counsel, Seth Carson, Esq., is representing three of the other plaintiffs. 1 The Forum has filed

counterclaims against Ms. Barbounis for breach of the duty of loyalty, civil conspiracy, and

fraudulent misrepresentation.

        Mr. Carson is also representing Ms. Barbounis is a separate action brought against her by

The Forum, captioned at The Middle East Forum v. Barbounis, No. 19-5687, pending in this Court

before the Honorable Juan R. Sanchez, in which The Forum has alleged a series of common law

and statutory claims arising from Ms. Barbounis’ theft of trade secret information (the “Trade

Secrets Action”). The Forum is represented by separate counsel in the Trade Secrets Action and

undersigned counsel in the instant action has not appeared in the Trade Secrets Action.




1
  In the matter McNulty v. The Middle East Forum, et al., 2:19-cv-05029 (the “McNulty Action”),
currently pending before the Honorable Anita B. Brody, Mr. Carson is representing plaintiff Ms.
Patricia McNulty. In the matter Brady v. The Middle East Forum, et al., 2:19-cv-05082 (the
“Brady Action”), Mr. Carson is representing plaintiff Ms. Caitriona Brady. Cozen O’Connor is
representing The Forum in each of these actions. The fourth action, O’Brien v. The Middle East
Forum, et al., 2:19-cv-06078 (the “O’Brien Action”), pending before the Honorable John M.
Gallagher, plaintiff Ms. Marnie O’Brien is represented by separate counsel Erica Shikunov, who
also now is with the Derek Smith Law Group. Mr. Carson also represented another former
employee who voluntarily withdrew her lawsuit after The Forum filed a Motion to Dismiss.
Yonchek v. The Middle East Forum, et al., 2:19-cv-05083 (the “Yonchek Action”).

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                                 The Forum’s Motion to Compel

        The Forum set forth Ms. Barbounis’ failure to respond to document requests in detail in its

Motion to Compel and incorporates by reference the factual background within that motion. (ECF

No. 59.) What is relevant for purposes of this motion is that Ms. Barbounis has entirely failed to

comply with Your Honor’s Order in response to that motion. Ms. Barbounis was expressly ordered

to “respond to the document requests and produce responsive documents, without objection, by

October 21, 2020.” (ECF No. 61.) She has not done so, thereby necessitating the instant motion

for contempt and sanctions.


             Ms. Barbounis and Her Counsel Have Disregarded Your Honor’s Order


        Unfortunately, it comes as no surprise to The Forum that Ms. Barbounis and Mr. Carson

have failed to abide yet another court order. History has shown that court orders mean little to

them. But this latest failure is especially concerning and problematic. First, the October 28th

discovery deadline is less than a week away and Ms. Barbounis has inexplicably failed to produce

any documents and any written responses to document requests.            Second, Ms. Barbounis’

deposition is only a week away, and The Forum’s counsel now has their hands tied as they begin

preparing to take her deposition without having received any documents from her. Third, Mr.

Carson has brazenly made clear that he had no intention of abiding by the Order.


        Late in the afternoon on October 20th, the day before the deadline to comply, Mr. Carson,

on behalf of Ms. Barbounis, and Jonathan Cavalier, Esq. and Leigh Ann Benson, Esq., on behalf

of The Forum, joined a call with two representatives of a third-party vendor, Cornerstone

Discovery (“Cornerstone”). The call’s purpose was to discuss the transfer of documents collected

from Ms. Barbounis’ devices to The Forum’s counsel. During this call, Cornerstone informed


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counsel that it would not be able to transfer any of Ms. Barbounis’ documents to The Forum’s

counsel until, hopefully, “the end of the week.” Despite that this anticipated production date is

after the deadline Your Honor ordered, Mr. Carson said nothing. The call proceeded and only

went downhill. Cornerstone and Mr. Carson went on to discuss that this week’s production to The

Forum would not be the complete production, it would only be an initial production, and only a

production of documents responsive to key word searches from the Trade Secrets Action.

Cornerstone would have to separately send Mr. Carson a folder of images and multimedia files for

Mr. Carson to review for responsiveness and to ensure that no personal and private images and

multimedia files are produced to The Forum. There is currently no projected delivery date for the

remainder of the Cornerstone documents which Mr. Carson has not yet even begun to review.


        Aside from the fact that no documents were produced pursuant to October 14th Order, Mr.

Carson also failed to serve written responses to The Forum’s document requests—requests which

were served in January 2020. There is no justifiable excuse for failing to satisfy this obligation to

serve written responses.


        Simply put, Ms. Barbounis and her counsel did not satisfy a single obligation imposed by

the Order.


         The History of Ms. Barbounis’ Document Collection and Production Failures


        To understand Cornerstone’s involvement, we must go back to December 2019. The

Forum, represented by Sidney L. Gold, Esq. of Sidney Gold and Associates and Attison Barnes,

III, Esq. of Wiley Rein, initiated the Trade Secrets Action against Ms. Barbounis. From the outset,

Ms. Barbounis and Mr. Carson made it apparent they had no intention of cooperatively




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participating in the discovery process. The Forum moved for expedited discovery, and Judge

Sanchez ordered, in part, that


        On or before 5:00 PM EST Friday, January 17, 2020 [Ms. Barbounis] shall
        supply to the discovery vendor Cornerstone Discovery (“Cornerstone”) (attention
        Lou Cinquanto) all electronic device(s), including but not limited to, cellular
        telephones (including, but not limited to, the three devises depicted in her social
        media post dated on or around November 27, 2019), all laptops and computers
        (including the Microsoft Surface that was depicted in her social media post dated
        November 22, 2018), and any other devices, and any cloud-based storage accounts
        connected to those devices (including, but not limited to, iCould accounts,
        Dropbox, WhatsApp backups, Telegram, Google Drive, Facebook, and Wickr).

(Trade Secrets Action ECF No. 21 (emphasis added).) Ms. Barbounis did not provide Cornerstone

with any of her devices by the court-ordered deadline, and The Forum filed a motion seeking a

finding of contempt and sanctions on January 21, 2020. (Trade Secrets Action ECF No. 25.)


        Judge Sanchez vacated the January 15th order following Ms. Barbounis’ motion for

reconsideration, but again ordered her to turn over all of her devices to Cornerstone in a subsequent

order dated February 19, 2020. (Trade Secrets Action ECF No. 38.) In that Order, Judge Sanchez

provided that


        Barbounis must image all electronic devices in her possession, custody, or control
        which currently contain or have ever contained any of Middle East’s documents or
        any documents referring to or relating to Middle East’s documents. These devices
        include, but are not limited to, cell phones, laptops, tablets, USB drives, or hard
        drives, without regard to whether the devices were purchased or paid for by
        Barbounis’s husband. The imaging process must capture documents and metadata,
        including documents and metadata that have been deleted if those documents and
        metadata are recoverable. Barbounis must give these electronic devices to a third-
        party vendor for imaging by February 25, 2020.

(Id. (emphasis added).) The Order also provided that all discovery related to an upcoming

preliminary injunction hearing would be completed by March 20, 2020. (Id.) This, of course,

would end up being another court-ordered deadline ignored by Ms. Barbounis and her counsel.



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        On March 19, 2020, The Forum filed an emergency motion to compel given that months

had passed and The Forum “ha[d] yet to receive a single electronic file or other documents ordered

by this Court.” (Trade Secrets Action ECF No. 44.) After numerous briefs were exchanged by

the parties, yet another order was entered on June 25, 2020. (Trade Secrets Action ECF No. 58.)

This time, Judge Sanchez ordered that Cornerstone receive “electronic copies, or images, of [Ms.

Barbounis’] two iPhone devices and any other devices…in a format acceptable to Cornerstone and

in a format which preserves and does not alter any and all existing metadata” by 5:00 PM EST on

June 29, 2020. (Id.) By that same time, Mr. Carson was ordered to “identify and supply

Cornerstone with [Ms. Barbounis’] account usernames and passwords” for expressly identified

email, cloud-based storage, messaging, and social media accounts. (Id.) The June 29th deadline

was not met.

        Six weeks later, on August 11, 2020 Cornerstone first received Ms. Barbounis’ documents

and information which included files collected from just two devices. (Trade Secrets Action ECF

No. 62.) These documents and files were the result of a certain twenty-five (25) agreed upon

search terms relevant only to the Trade Secrets Action.

                   The Interplay Between the Trade Secrets Action and This Action

        By email dated late September 23, 2020, Mr. Carson confirmed with Cornerstone that The

Forum’s counsel in this Action could have access to the documents produced in the Trade Secret

Action. (A true and correct copy of Mr. Carson’s September 23, 2020 email is attached as Exhibit

A.) Mr. Carson’s position was that production of these documents – which were generated via a

key word search in the Trade Secrets Action – satisfied his client’s discovery obligations in this

case, a position with which The Forum has vehemently and consistently disagreed. The Forum

was had little confidence that these documents would be responsive to their requests in this Action,



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as made that clear to Mr. Carson, but awaited their production before making any final

determination as to outstanding deficiencies. In seeking written confirmation that The Forum

could access the documents, Mr. Walton wrote to Mr. Carson,

        [W]e do not concede that this production will fully satisfy your client’s discovery
        obligations. We also do not waive our right to seek additional document discovery
        from your client that would be responsive to [The Forum’s] outstanding document
        requests.

(Id.) But when Mr. Carson pushed back, Mr. Walton explained further:

        If there are more documents that should be produced, we are going to demand their
        production. The issues, and hence the search terms, in the trade secret cases involve
        different issues. You cannot assume that 25 search terms for the trade secret case
        automatically satisfies your discovery obligations in the employment
        discrimination case.

(Id.)

        So, with Mr. Carson’s permission granted, and in the interest of efficiency and in the hopes

of moving this case along and facilitating preparations for depositions, counsel for The Forum

agreed to accept and review the production to determine whether and how the production of Ms.

Barbounis’ documents remained deficient.

        Despite having had access to the Cornerstone documents for six weeks, Mr. Carson told

counsel for The Forum, “I have barely looked at the discovery from Cornerstone. So maybe we

should ask for more time in light of 250,000 files and probably a million documents.” (Id.)

(emphasis added.) In other words, Mr. Carson had authorized production of these documents

without having any idea what the production contained and whether the documents were

responsive to The Forum’s discovery requests in this Action.

        Then, Mr. Carson revoked that permission less than a day later. The next afternoon,

apparently having looked at some of the documents for the first time, Mr. Carson informed Mr.

Walton that given certain personal and private images, including images of Ms. Barbounis’


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children, had been included in the production Mr. Carson needed to revoke access while he

reviewed the documents. We are respectful of the Barbounis’ family’s privacy and have no desire

to access such images. But still, Mr. Carson had six weeks to review these documents, and because

of his failure to do so, another month has passed and The Forum still does not have a single

document produced by Ms. Barbounis.

        The Forum was mindful of Judge Sanchez’s orders regarding the data collection and

production in the Trade Secrets Action and Your Honor’s preference that counsel work discovery

disputes amongst themselves before seeking judicial intervention. As such, counsel for The Forum

pressed Mr. Carson on his client’s discovery obligations, seeking to determine whether and what

his client would be producing in this case. Taking that into account coupled with the operative

scheduling order, The Forum filed its Motion to Compel on October 7th—two weeks after Mr.

Carson informed it that it could not have access to the documents and two weeks before the

October 28th discovery deadline.

        So, for months Ms. Barbounis has been relying on the retrieval of this data from the Trade

Secrets Action to fulfill her obligations in this Action. This was despite her counsel’s apparent

failure to review the contents of those documents over the course of months. Even if The Forum

did have this production from Ms. Barbounis, she still would not be in compliance with her

obligations. This Action involves her harassment, retaliation, and discrimination-based claims

against The Forum and The Forum’s counterclaims for breach of duty of loyalty, civil conspiracy,

and fraudulent misrepresentation. As noted above, the Cornerstone documents were generated via

a search of Ms. Barbounis’ electronic devices using keywords that targeted documents and

information relevant to the Trade Secrets Action. Given the obvious differences between the

claims in this Action and the claims in the Trade Secret Action, producing documents responsive



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to The Forum’s requests is in the Trade Secret Action will likely not fulfill Ms. Barbounis’

obligation to produce documents responsive to those requests served by The Forum in this

Action—requests that were served nearly nine months ago.             Counsel for The Forum has

consistently and repeatedly made it clear to Mr. Carson a production of the documents from

Cornerstone will not remedy the mountain of discovery deficiencies in this Action.

                      Prior Discovery Failures and Disregarded Orders


        While in normal circumstances separate Actions are considered distinct, this is by no means

a normal circumstance. Given the context of this Motion and the relief sought, The Forum must

make this Court aware of Mr. Carson’s ever-expanding record of disregarded obligations and

orders because of the severe prejudice The Forum has suffered. The Forum has worked tirelessly

over the course of the last ten months—work spanning a half dozen actions in this Court—to chase

down Mr. Carson and his clients for document production and written discovery responses.

Further, The Forum has taken the lead in all necessary joint submissions—whether Rule 26(f)

reports, requests for extensions, or any other joint submission. The Forum has had to, frankly,

pick up Mr. Carson’s slack for the better part of a year. This has to stop.


        The Trade Secrets Action. As explained in detail above, in the Trade Secrets Action, The

Forum has filed a slew of motions to compel and a motion for contempt as a result of Ms.

Barbounis’ failures to comply with discovery obligations and Judge Sanchez’s orders.


        The Brady Action. Much like this Action, The Forum filed motions to compel, motions

for sanctions, and ultimately a motion for contempt in the Brady Action. And much like Judge

Sanchez’s orders in the Trade Secrets Action, Mr. Carson showed a disregard for Judge Kearney’s

orders in the Brady Action from day one.


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        Mr. Carson failed to appear before Judge Kearney for a court-ordered Initial Pretrial

Conference on January 31, 2020, and violated Judge Kearney’s January 17, 2020 Order requiring

him to jointly submit a Rule 26(f) Report with The Forum. Judge Kearney in turn instructed The

Forum to file a Motion for Attorneys’ Fees. Judge Kearney granted, in part, The Forum’s Motion

and ordered Mr. Carson to appear and show cause as to why he should not be sanctioned. The

show cause hearing was held before Judge Kearney on July 6, 2020. As a result, Mr. Carson’s

firm, Derek Smith Law Group, PLLC (“DSLG”), was ordered to pay The Forum’s attorneys’ fees

($954.50) by July 20, 2020. DSLG and Mr. Carson failed to comply with Judge Kearney’s order

by failing to make payment on time. On August 5th, sixteen days after the payment was due, The

Forum was forced to file a Motion to Hold Derek Smith Law Group in Contempt due to its

violation of the July 6th Order. (Brady ECF No. 65) Following another hearing before Judge

Kearney, for which Judge Kearney required Mr. Carson and his supervisors, Samuel Wilson, Esq.

and Derek Smith, Esq., to attend, The Forum’s motion for contempt was granted, in part, and

DSLG was ordered to pay The Forum’s fees and costs incurred in its preparation of the contempt

motion and hearing. 2 (Brady ECF No. 71.)


        Aside from the sanctions imposed upon Mr. Carson and his firm as a result of his failures

to abide prior order of the Judges in this District, Mr. Carson also failed to abide by discovery

obligations, much like he has done in this Action. On June 9th, with the discovery deadline was

fast-approaching, The Forum was forced to file a Motion to Compel Ms. Brady to produce all

documents responsive to The Forum’s requests. (Brady ECF No. 45.) Judge Kearney granted The

Forum’s Motion to Compel and ordered Ms. Brady to produce written responses, without



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 The Forum has not attached transcripts from the July 6th and August 13th hearings, but will
submit them to the Court for in camera review should Your Honor so instruct.

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objection, to The Forum’s discovery requests and to “produce all responsive documents” by June

16th (Brady ECF No. 53.) Mr. Carson failed to respond at all and entirely disregarded the Judge

Kearney’s order. As a result, The Forum was forced to file yet another motion, this time seeking

compulsory compliance with discovery obligations and sanctions. (Brady ECF No. 55). Judge

Kearney, by order dated June 18, 2020, granted in part The Forum’s motion (Brady ECF No. 57).

Soon thereafter, the Brady Action was ordered dismissed with prejudice pursuant to Local Rule of

Civil Procedure 41.4(b) on motion by Mr. Carson. (Brady ECF No. 61.) Despite that dismissal,

Mr. Carson never finalized a settlement agreement on behalf of his client.


        The McNulty Action. It should come as no surprise that Mr. Carson has not served written

responses to document requests or produced documents on Ms. McNulty’s behalf in the McNulty

Action pending before Judge Brody. The Forum, as it has done so many times before, filed a

motion to compel responses to its requests served in January. Judge Brody ordered that on or

before October 22, 2020--which is today—that Mr. Carson respond to The Forum’s request for a

telephone conference and “resolve the discovery dispute.” (McNulty ECF No. 33.) As of the time

this motion was filed, Mr. Carson and Ms. McNulty have failed to comply with that Order.


                                          Legal Argument

        Rule 37 of the Federal Rules of Civil Procedure provides a mechanism by which a party

can seek sanctions for another’s failure to cooperate in discovery. There is no better example of a

failure to cooperate in discovery than that which is now set forth before Your Honor. Under this

rule, “if a party…fails to obey an order to provide or permit discovery…the court where the action

is pending may issue further just orders” that include orders


        (i) directing that the matters embraced in the order or other designated facts be taken
        as established for purposes of the action, as the prevailing party claims;

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        (ii) prohibiting the disobedient party from supporting or opposing designated
        claims or defenses, or from introducing designated matters in evidence;

        (iii) striking pleadings in whole or in part;

        (iv) staying further proceedings until the order is obeyed;

        (v) dismissing the action or proceeding in whole or in part;

        (vi) rendering a default judgment against the disobedient party; or

        (vii) treating as contempt of court the failure to obey any order except an order to
        submit to a physical or mental examination.

Fed. R. Civ. P. 37(b)(2)(A)(i)-(vii).

        Given Ms. Barbounis’ and Mr. Carson’s repeated failures and that The Forum has been

provided no discovery with which to prepare its defense, the relief outlined above and as stated

expressly in the Federal Rules is warranted here.

        In addition, The Forum is at a deadlock in terms of progressing this Action. Discovery is

set to close in less than a week. Mr. Carson initially proposed, and then agreed to jointly seek an

extension, and The Forum’s counsel took the lead on drafting a letter to Your Honor establishing

that good cause warrants an extension. As is Mr. Carson’s common practice, on the deadline to

submit our request for an extension, which was yesterday, Mr. Carson failed to respond to our

emails. Mr. Carson sent a draft letter with proposed revisions on the evening of Tuesday,

October 20th. Ms. Benson timely returned to Mr. Carson a counterproposal draft on Wednesday

morning. This draft accepted in part Mr. Carson’s revisions and added further minor revisions.

Mr. Carson failed to respond. After following up again mid-after and at the close of the business

day, Mr. Carson finally responded to Ms. Benson’s email after 6:00pm and wrote that he no

longer agreed to a joint request for an extension (as he had originally proposed) due to his

insistence that the request include reference to a disputed point in another case having




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nothing to do with discovery. 3 (A true and correct copy of counsel’s email exchanged dated

October 21, 2020, with the attached proposed letter, is attached as Exhibit B.)

        The power to punish contempt “is a necessary and integral part of the independence of the

judiciary, and is absolutely essential to the performance of the duties imposed on them by law.

Without it they are mere boards of arbitration, whose judgments and decrees would be only

advisory.” Gompers v. Buck’s Stove & Range Co., 221 U.S. 418, 450 (1911). The Court has broad

discretion to fashion contempt sanctions. See Northeast Women’s Center, Inc. v. McMonagle, 939

F.2d 57, 70 (3d Cir. 1991); Delaware Valley Citizens’ Council for Clean Air v. Commonwealth of

Pennsylvania, 678 F.2d 470, 478 (3d Cir.), cert. denied, 459 U.S. 963 (1982); MacDermid, Inc. v.

Selle, 577 F. Supp. 2d 599, 601 (D. Conn. 2008). For example, the Court can impose fines, see

MacDermid, 577 F. Supp. 2d at 602; Howe Laboratories, Inc. v. Stevick, 1997 WL 340916 at *1

(E.D.N.Y. June 18, 1997), or order the incarceration of the party who has violated the Court’s

order. See Northeast Women’s Center, 939 F.2d at 70; Delaware Valley Citizens’ Council, 678

F.2d at 478; Clearone Communications, Inc. v. Chiang, 670 F. Supp. 2d 1248, 1251 (D. Utah

2009). Finally, the Court can award attorneys’ fees as well as the other expenses (including the

expenses of a party’s time) involved in demonstrating a violation of the Court’s order. See Robin

Woods, 28 F.3d at 401.

        For the record, counsel for The Forum does not lightly seek contempt against a party or her

counsel, nor seek to burden the Court with motions that could be avoided through discussions with

counterparts, as members of this Bar are obligated to do. But when, as now, the undersigned are

now confronted with a long pattern of disobeyed orders of this Court which have stalled this




3
 Counsel for MEF offered to include the unrelated, disputed statement by making it clear that the
statement was “Mr. Carson’s position.” This was apparently not enough to satisfy Mr. Carson.

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litigation, significantly and needlessly increased the costs incurred, and prejudiced the rights of the

client, counsel is left with no other choice, and in fact has an obligation to both client and court, to

seek an effective remedy. Rules are only rules if both sides abide them. Despite being found in

contempt just weeks ago, Mr. Carson apparently still fails to understand that Court Orders are just

that: orders, not suggestions. As such, a more substantial remedy is warranted and required. At a

minimum, The Forum needs, and is entitled to, ample time to review the hundreds of thousands of

documents that it anticipates will be coming, despite being overdue, and then preparing for and

taking depositions.

        WHEREFORE, Counsel respectfully requests that the Court entered the attached

Proposed Order.



                                                Respectfully submitted,

                                                COZEN O’CONNOR

                                                BY: /s/David J. Walton
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                                CERTIFICATE OF SERVICE

      I hereby certify that I served upon all counsel of record a true and correct copy of
Defendant The Middle East Forum’s Motion for Contempt via ECF filing.


                                             /s/ David J. Walton
                                             David J. Walton, Esquire

                                             COZEN O’CONNOR

                                             Attorney for Defendant,
                                             The Middle East Forum

Dated: October 22, 2020




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